                                                        ORDER:
                                                        Motion granted. The parties shall
                                                        confer and file an updated status report
                                                        within 30 days of the closing of the
                           UNITED STATES DISTRICT COURT Acquistion or a determination that the
                           MIDDLE DISTRICT OF TENNESSEE Acquisition will not close.
                                NASHVILLE DIVISION

SCOTT PURRONE, Derivatively on behalf of             Lead Civil Action No. 3:17-cv-01472    U.S.
ENVISION HEALTHCARE CORPORATION                      (Consolidated with Nos. 3:17-cv-01550, Magistrate Judge
f/k/a/ ENVISION HEALTHCARE                           3:17-cv-01570)
HOLDINGS, INC.,
                    Plaintiff,                       Judge William L. Campbell, Jr.
        vs.
                                                     Magistrate Judge Jeffery S. Frensley
WILLIAM A. SANGER, CHRISTOPHER A.
HOLDEN, CAROL J. BURT, JAMES A.
DEAL, LEONARD M. RIGGS, JR., JOHN T.
GAWALUCK, STEVEN I. GERINGER,
JAMES D. SHELTON, JOEY A. JACOBS,
MICHAEL L. SMITH, CYNTHIA S. MILLER,
KEVIN P. LAVENDER, RANDEL G. OWEN,
CLAIRE M. GULMI, MARK V. MACTAS,
RICHARD J. SCHNALL, and RONALD A.
WILLIAMS,

                        Defendants,

       – and –

ENVISION HEALTHCARE CORPORATION
f/k/a/ ENVISION HEALTHCARE
HOLDINGS, INC., a Delaware Corporation,

                           Nominal Defendant.


              JOINT STATUS REPORT AND MOTION TO STAY ACTION

       Plaintiffs Scott Purrone and Ryan Sevy ("Plaintiffs"), defendants William A. Sanger,

Christopher A. Holden, Carol J. Burt, James A. Deal, Leonard M. Riggs, Jr., John T. Gawaluck,

Steven I. Geringer, James D. Shelton, Joey A. Jacobs, Michael L. Smith, Cynthia S. Miller, Kevin P.

Lavender, Randel G. Owen, Claire M. Gulmi, Mark V. Mactas, Richard J. Schnall, Ronald A.

Williams (the "Individual Defendants"), and nominal defendant Envision Healthcare Corporation

("Envision" or the "Company," and, with the Individual Defendants, "Defendants") respectfully

submit this joint status report and motion to stay pursuant to the Court's order dated August 20,




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